              Case 18-13243 Doc 4 Filed 12/06/18 Entered 12/06/18 11:34:26 Main Document Page 1 of 2
 Fill in this information to identify your case:

  Debtor 1                    Duc                                         Tran
                             First Name             Middle Name          Last Name

  Debtor 2                    Lynn                                        Mai
  (Spouse, if filing)        First Name             Middle Name          Last Name

  United States Bankruptcy Court for the:                         Eastern District of Louisiana

  Case number                                                                                                                                      ❑   Check if this is an
  (if known)                                                                                                                                           amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for    Column A                Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much   Amount of claim         Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                        Do not deduct the       that supports         portion
                                                                                                                    value of collateral.    this claim            If any

         Add the dollar value of your entries in Column A on this page. Write that number here:                                            $0.00




Official Form 106D                                         Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
 Debtor 1   Case 18-13243
                  Duc     Doc 4 Filed 12/06/18  Entered 12/06/18 11:34:26 Main Document Page 2 of 2
                                             Tran
 Debtor 2              Lynn                                         Mai                                                   Case number (if known)
                       First Name          Middle Name               Last Name


                                                                                                                  Column A               Column B              Column C
              Additional Page                                                                                     Amount of claim        Value of collateral   Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                       Do not deduct the      that supports         portion
              with 2.3, followed by 2.4, and so forth.                                                            value of collateral.   this claim            If any



 2.1 Capital One Auto Finance                      Describe the property that secures the claim:                          $32,428.00            $28,000.00            $4,428.00
     Creditor's Name
                                                     2019 Jeep Cherokee
      PO Box 259407
     Number          Street
      Plano, TX 75025                              As of the date you file, the claim is: Check all that apply.
     City                      State   ZIP Code    ❑Contigent
     Who owes the debt? Check one.                 ❑Unlquidated
     ❑Debtor 1 only                                ❑Disputed
     ❑Debtor 2 only                                Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                             ✔An agreement you made (such as mortgage or
                                                   ❑
     ❑At least one of the debtors and another          secured car loan)
     ✔ Check if this claim relates to a
     ❑                                             ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                   ❑Judgment lien from a lawsuit
     Date debt was incurred                        ❑Other (including a right to offset)
     8/2018
                                                   Last 4 digits of account number 4            4   4    9




 2.2 Mr. Cooper                                    Describe the property that secures the claim:                         $116,442.00           $110,000.00            $6,442.00
     Creditor's Name
                                                     Debtors' principal residence; value decreasing
      8950 Cypress Waters Blvd                       3629 Ridgelake Dr. Unit 15 Metairie, LA 70002
     Number          Street
      Coppell, TX 75019                            As of the date you file, the claim is: Check all that apply.
     City                      State   ZIP Code    ❑Contigent
     Who owes the debt? Check one.                 ❑Unlquidated
     ❑Debtor 1 only                                ❑Disputed
     ❑Debtor 2 only                                Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                             ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another          secured car loan)
     ✔ Check if this claim relates to a
     ❑                                             ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                   ❑Judgment lien from a lawsuit
     Date debt was incurred                        ❑Other (including a right to offset)
     6/2010
                                                   Last 4 digits of account number 2            6   6    4




      Add the dollar value of your entries in Column A on this page. Write that number here:                                    $148,870.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                      $148,870.00
      here:




Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
